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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             ABINGDON DIVISION

UNITED STATES OF AMERICA                  )
                                          ) ORDER OF DETENTION
              v.                          ) Case No.: 1:18mj00132-001
                                          )
ANDREA NICHOLE STICKEL,                   )
   Defendant                              )


         In accordance with the Bail Reform Act, 18 U.S.C. § 3142, a detention
hearing was scheduled to be held in this matter on October 4, 2018. Prior to this
hearing, defense counsel stated that the defendant is not seeking pretrial release at
this time. Therefore, the defendant shall be detained pending further order of the
court.


                          Directions Regarding Detention

         The defendant is committed to the custody of the Attorney General or his
designated representative for confinement in a corrections facility. The defendant
shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in
connection with a court proceeding.

         ENTERED: October 4, 2018.


                                      /s/ Pamela Meade Sargent
                                      UNITED STATES MAGISTRATE JUDGE
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